 

Case 2:20-cr-00048-Z-BR Document 29 Filed 10/06/20 Pag S.

IN THE UNITED STATES DISTRICT COURT FILED

FOR THE NORTHERN DISTRICT OF TEKAS
AMARILLO DIVISION OCT - 6 2

 

 

 

 

UNITED STATES OF AMERICA
By

 

Plaintiff, Deputy

F TEXAS

CLERK, U.S. DISTRICT COURT

 

 

v. 2:20-CR-48-Z-BR-(1)

MICHAEL DEWAYNE ALFRED

COR Or CO? 60? CO? CO? OD? 60? COD

Defendant.

ORDER ADOPTING REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

On September 18, 2020, the United States Magistrate Judge issued a Report and
Recommendation Concerning Plea of Guilty (“Report and Recommendation”) in the above referenced
cause. Defendant Michael Dewayne Alfred filed no objections to the Report and Recommendation
within the fourteen-day period set forth in 28 U.S.C. § 636(b)(1). The Court independently examined
all relevant matters of record in the above referenced cause—including the elements of the offense,
Factual Resume, Plea Agreement, and Plea Agreement Supplement—and thereby determined that the
Report and Recommendation is correct. Therefore, the Report and Recommendation is hereby
ADOPTED by the United States District Court. Accordingly, the Court hereby FINDS that the guilty
plea of Defendant Michael Dewayne Alfred was knowingly and voluntarily entered; ACCEPTS the
guilty plea of Defendant Michael Dewayne Alfred; and ADJUDGES Defendant Michael Dewayne
Alfred guilty of Count One in violation of 18 U.S.C. § 2252A(a)(1). Sentence will be imposed in

accordance with the Court’s sentencing scheduling order.

Me am

MATAHEW J. HACSMARYK
ED STATES DISTRICT JUDGE

SO ORDERED, October é , 2020.

 
